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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,                          )
                                                      )
                               Plaintiff,             )
                                                      )
                       vs.                            )       1:12-cr-00133-SEB-TAB
                                                      )
   MICHAEL HENSON,                                    )                 -035
                                                      )
                               Defendant.             )

                    ORDER ADOPTING REPORT AND RECOMMENDATION
        Having reviewed Magistrate Judge Debra McVicker Lynch’s Report and Recommendation

 that Michael Henson’s supervised release be modified, pursuant to Title 18, U.S.C. §3401(i) and

 Rule 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, The Court now

 approves and adopts the Report and Recommendation as the entry of the Court, and orders the

 modifications to include the following conditions:

    •   The defendant shall submit to the search of his/her person, vehicle, office/business,

        residence, and property, including computer systems and Internet-enabled devices,

        whenever the probation officer has reasonable suspicion that a violation of a condition of

        supervision or other unlawful conduct may have occurred or be underway involving the

        defendant. Other law enforcement may assist as necessary. The defendant shall submit to

        the seizure of any contraband that is found and should forewarn other occupants or users

        that the property may be subject to being searched.

    •   The defendant shall be monitored by Global Positioning (GPS) Monitoring for a period

        of up to the duration of the defendant’s term of supervised release, which is now due to

        expire on September 10, 2016, to commence as soon as possible, and shall abide by all
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        technology requirements. The defendant shall pay all costs of participation in the

        program as directed by the court or probation officer. This form of location monitoring

        technology shall be utilized to monitor the following restriction on the defendant’s

        movement in the community as well as other court-imposed conditions of release: the

        defendant shall be restricted to her residence at all times except for employment;

        education; religious services; medical, substance abuse, or mental health treatment;

        attorney visits; court-ordered obligations; or other activities as pre-approved by the

        probation officer.

    •   The defendant shall participate in a program of mental health treatment, as directed by

        the probation officer.

    •   The defendant shall participate in a substance abuse treatment program at the direction of

        the probation officer, which may include no more than eight drug tests per month. The

        defendant shall abstain from the use of all intoxicants, including alcohol, while

        participating in a substance abuse treatment program. The defendant is responsible for

        paying a portion of the fees of substance abuse testing and/or treatment in accordance

        with his ability to pay.

 SO ORDERED.


                              2/5/2016          _______________________________
                                                  SARAH EVANS BARKER, JUDGE
                                                  United States District Court
                                                  Southern District of Indiana

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